                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No. 2:08-CR-016
                                                )
MELISSA MOORE                                   )

                                       ORDER

              By judgment entered March 10, 2010, the defendant was sentenced to a

term of imprisonment of 44 months to be followed by four years of supervised release.

The defendant has now moved, pro se, for early termination of her term of supervision

which commenced in September, 2011. [Doc. 273]. Both the supervising probation

officer and the prosecuting attorney have advised the court that they do not oppose the

requested relief.

              The court has considered the motion and finds it well-taken. It appears that

the defendant has complied with the rules and conditions of her supervision and has

achieved all supervision objectives.

              The defendant’s motion [doc. 273] is accordingly GRANTED, and it is

hereby ordered that she be discharged from supervision.

              Dated this 13th day of March, 2015.

              IT IS SO ORDERED.

                                                       ENTER:

                                                                s/ Leon Jordan
                                                          United States District Judge


Case 2:08-cr-00016-RLJ      Document 274 Filed 03/13/15           Page 1 of 1    PageID #:
                                       1128
